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                         SO ORDERED: September 23, 2016.




                         ______________________________
                         Robyn L. Moberly
                         United States Bankruptcy Judge




                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  IN RE:                                      |
                                              |
  PRIME RENTALS, LLC,                         |               Case No. 15-7473-RLM-11
                                              |
                       Debtor.                |
                                              |


          FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER
        UNDER 11 U.S.C. § 1129(a) AND (b) AND FED. R. BANKR. P. 3020
                CONFIRMING COMBINED SMALL BUSINESS
    CHAPTER 11 PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT

        This matter is before the Court for the entry of an order confirming the Combined

 Small Business Chapter 11 Plan of Reorganization and Disclosure Statement dated

 June 28, 2016 [Docket No. 121], (the “Plan”), filed by Prime Rentals, LLC, the Debtor in

 the above-captioned Chapter 11 case (the “Chapter 11 Case”) and scheduled for a

 confirmation hearing which was held on August 16, 2016 (the “Confirmation Hearing”).

 The Plan is attached as Exhibit A to this Confirmation Order. Any capitalized term not

 defined in this Confirmation Order has the definition given it in the Plan. In making the
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 following findings of fact and conclusions of law and confirming the Plan, this Court

 considered, evaluated, and weighed the following: (i) Certification of Ballot Report

 [Docket No. 164] (the “Ballot Report”), (ii) Amended Certification of Ballot Report

 [Docket No. 171] (the “Amended Ballot Report”), (iii) First Immaterial Modification to its

 Combined Small Business Chapter 11 Plan of Reorganization and Disclosure

 Statement [Docket No. 170] (the “First Immaterial Modification”) (iv) Second Corrected

 Immaterial Modification to its Combined Small Business Chapter 11 Plan of

 Reorganization and Disclosure Statement [Docket No. 185] (the “Second Immaterial

 Modification”) (together the First Immaterial Modification and the Second Immaterial

 Modification are referred to as the “Immaterial Modifications”), (v) all other evidence

 admitted and arguments of counsel made at the Confirmation Hearing, and (vi) the

 entire record of the Chapter 11 Case. A copy of the Immaterial Modifications is

 attached hereto as Exhibit “B”.

        Several creditors objected to the Plan. At the Confirmation Hearing, it was

 reported that all objections had been resolved (as reflected in the Immaterial

 Modifications) except the objections filed by (1) Ditech Financial LLC f/k/a Green Tree

 Servicing LLC (“Ditech”) [Docket No. 161] with respect to property located at 2101 East

 430 South, Lafayette, Indiana and (2) Wells Fargo Bank (“Wells Fargo”) [Docket No.

 144] with respect to property located at 6818 North 75 East, West Lafayette, Indiana.

        After due deliberation and finding good and sufficient cause, this Court makes

 the following findings of fact, conclusions of law, and enters this Confirmation Order

 confirming the Plan.

               THIS COURT FINDS AND CONCLUDES:



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               A.     Filing of the Plan. On June 28, 2016, the Debtor filed the Plan

 [Docket No. 121].

               B.     Combined Chapter 11 Plan and Disclosure Statement. The Court

 entered its Order Setting Plan Proponent Requirements and Notice of Confirmation

 Hearing and Filing Deadlines [Docket No. 123] (the “Disclosure Statement Order”). The

 Disclosure Statement Order (i) fixed the date for a hearing to consider confirmation of

 the Plan, (ii) established voting and objection deadlines with respect to the Plan and the

 Confirmation Hearing, and (iii) established certain procedures for soliciting and

 tabulating votes with respect to the Plan.

               C.     Classes of Claims under the Plan. The Plan provides for four

 classes of Claims and Equity Interests: Class 1 are unsecured priority claims, Class 2

 are all the similarly situated secured creditors having a specific interest in collateral of

 the Debtor further subdivided into those specific items of collateral, Class 3 are general

 unsecured claims and Class 4 are equity interests of the Debtor. All classes were

 identified as impaired and were entitled to vote on the Plan.

               D.     Transmittal of Solicitation Package. Pursuant to the Disclosure

 Statement Order, a “solicitation” packet consisting of (1) the Combined Chapter 11 Plan

 and Disclosure Statement, (2) the Disclosure Statement Order, and (3) a ballot and

 return envelope for voting on the Plan (“Ballot”) was transmitted to all creditors in

 accordance with Fed. R. Bank. P. 3017 (the “Solicitation Packet”). See Docket No. 123.

               E.     Voting Reports. On August 14, 2016, the Debtor filed the Ballot

 Report, and on August 26, 2016 the Debtor filed the Amended Ballot Report certifying

 the method and results of the Ballot tabulation.



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               F.     Exclusive Jurisdiction; Venue; Core Proceeding (28 U.S.C. §

 157(b)(2) and 1334(a)). The Court has jurisdiction over the Chapter 11 Case pursuant

 to 28 U.S.C. §§ 157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and

 1409. Confirmation of the Plan is a core proceeding under 28 U.S.C. § 157(b)(2)(L),

 and the Court has exclusive jurisdiction to determine whether the Plan complies with the

 applicable provisions of the Bankruptcy Code and should be confirmed.

               G.     Judicial Notice. The Court takes judicial notice of the docket of the

 Chapter 11 Case maintained by the Clerk of the Court and/or its duly-appointed agent,

 including without limitation, all pleadings and other documents filed, all orders entered,

 and all evidence and arguments made, proffered or admitted at the hearings held before

 the Court during the pendency of the Chapter 11 Case.

               H.     Transmittal and Mailing of Materials; Notice. Due, adequate and

 sufficient notice of the Disclosure Statement and Plan and of the Confirmation Hearing,

 along with all deadlines for voting on and filing objections to the Plan, has been given to

 all known holders of Claims in accordance with the procedures set forth in the

 Disclosure Statement Order. The Disclosure Statement, Plan, Ballots, Disclosure

 Statement Order, and notice of the date of the Confirmation Hearing and the deadlines

 for voting and objecting were transmitted and served in substantial compliance with the

 Disclosure Statement Order, the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”) and the local rules applicable to the United States Bankruptcy

 Court for the Southern District of Indiana (“Local Rules”), and such transmittal and

 service were adequate and sufficient and no other or further notice is or shall be

 required.



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               I.     Good Faith Solicitation (11 U.S.C. § 1125(e)). The Debtor and its

 agents, representatives, attorneys, and advisors have solicited votes on the Plan in

 good faith and in compliance with Sections 1125 and 1126 of the Bankruptcy Code,

 Bankruptcy Rules 3017.1 and 3018, the Disclosure Statement Order, and all other

 applicable rules, laws, and regulations. The Debtor and its agents, representatives,

 attorneys, and advisors are entitled to the protections afforded by Section 1125(e) of the

 Bankruptcy Code.

               J.     Ballots. All procedures used to distribute solicitation materials to

 the applicable holders of Claims and to tabulate the Ballots were fair and conducted in

 accordance with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy

 Rules, the Local Rules, and all other applicable rules, laws, and regulations.

               K.     Impaired Class Voted to Accept the Plan. As evidenced by the

 Ballot Report and the Amended Ballot Report, which certified the results of the voting,

 pursuant to the requirements of Section 1124 and 1126, at least one impaired Class of

 Claims, determined without including any acceptance by an insider of the Debtor, has

 voted to accept the Plan. Impaired Classes 2A, 2B and 2F accepted the Plan by more

 than half in number and two-thirds in amount of the valid Ballots returned.

               L.     Classes Deemed to Have Rejected the Plan. Holders of Equity

 Interests in Class 4 are not entitled to receive any distribution under the Plan on account

 of their Equity Interests. Pursuant to Section 1126(g) of the Bankruptcy Code, Class 4

 is conclusively presumed to have rejected the Plan, and the votes of Equity Interests

 therefore were not required to be solicited.




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              M.     Presumed Acceptances by Unimpaired Classes. Pursuant to

 Section 1126(f) of the Bankruptcy Code, holders of Claims that are unimpaired are

 conclusively presumed to have accepted the Plan. There are no classes of Claims

 unimpaired by the Plan.

              N.     Burden Of Proof. The Debtor introduced evidence by way of two

 sworn witnesses who testified at the Confirmation Hearing. The Debtor has met its

 burden of proving the elements of Sections 1129(a) and (b) of the Bankruptcy Code.

              O.     Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)).

 The Plan complies with the applicable provisions of the Bankruptcy Code, thereby

 satisfying Section 1129(a)(1) of the Bankruptcy Code.

                     a.     Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). In

              addition to Administrative Expense Claims and Priority Tax Claims (which

              are not required to be classified), Article IV of the Plan designates three

              (3) Classes of Claims and one (1) Class of Equity Interests. The Claims

              and Equity Interests placed in each Class are substantially similar to other

              Claims or Equity Interests in each such Class. Valid business, factual and

              legal reasons exist for separately classifying the various Classes of Claims

              and Equity Interests created under the Plan, and such Classes do not

              unfairly discriminate between holders of Claims or Equity Interests. Thus,

              the Plan satisfies Sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                     b.     Specification of Treatment of Impaired Class (11 U.S.C.

              1123(a)(3)). The Plan specifies the Classes of Claims and Equity

              Interests that are impaired under the Plan and the treatment of impaired



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            Claims and Equity Interests in all such Classes. Thus, the Plan satisfies

            Section 1123(a)(3) of the Bankruptcy Code.

                   c.     No Impermissible Discrimination (11 U.S.C. § 1123(a)(4)).

            The Plan provides for the same treatment for each Claim or Equity Interest

            in each respective Class unless the holder of a particular Claim has

            agreed to less favorable treatment with respect to such Claim or the law

            allows for a different treatment. Thus, the Plan satisfies

            Section 1123(a)(4) of the Bankruptcy Code.

                   d.     Implementation of Plan (11 U.S.C. § 1123(a)(5)). The Plan

            provides adequate and proper means for implementation of the Plan,

            including, without limitation, (a) the creditors’ election to take cash or

            equity; (b) the existence of funding necessary to make cash distributions

            called for under the Plan; and (c) the operation of the Reorganized

            Debtor’s business. Thus, the Plan satisfies Section 1123(a)(5) of the

            Bankruptcy Code.

                   e.     Prohibition Against Issuance Of Non-Voting Equity Securities

            And Provisions For Voting Power Of Classes Of Securities (11 U.S.C. §

            1123(a)(6)). Section 1123(a)(6) does not apply to the Plan.

                   f.     Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)).

            Pursuant to the Plan, the current officers and directors of the Debtor are

            terminated under the Plan and the new officers and directors will replace

            them in exchange for the new value contribution to be made under the

            Plan. Thus, before new officers receive any compensation from the



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              Debtor , creditors will have received their pro rata share of the new value

              contribution which represents full payment of what they are entitled to

              receive on their unsecured claims under the confirmed plan. The

              employment of such individuals and the proposed compensation

              arrangements for such officers and directors is consistent with the

              interests of the holders of Claims and Equity Interests and with public

              policy. Thus, Section 1123(a)(7) of the Bankruptcy Code is satisfied.

                     g.     Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s

              provisions are appropriate and consistent with the applicable provisions of

              the Bankruptcy Code, including without limitation, provisions for (i)

              distributions to holders of Allowed Claims, (ii) the disposition of executory

              contracts and unexpired leases, (iii) the retention of, and right to enforce,

              sue on, settle or compromise (or refuse to do any of the foregoing with

              respect to) certain claims or causes of action against third parties, to the

              extent not waived and released under the Plan, (iv) resolution of Disputed

              Claims, (v) allowance of certain Claims, (vi) injunction binding creditors to

              a treatment under the Plan, and (vii) exculpation and releases

                     h.     Fed. R. Bankr. P. 3016(a). The Plan is dated June 28, 2016,

              and identifies the entity submitting it, thereby satisfying Bankruptcy Rule

              3016(a).

              P.     The Debtor’s Compliance with Bankruptcy Code (11 U.S.C. §

 1129(a)(2)). The Debtor has complied with the applicable provisions of the Bankruptcy

 Code, thereby satisfying Section 1129(a)(2) of the Bankruptcy Code. Specifically, The



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 Debtor is a proper party under Section 109 of the Bankruptcy Code, and The Debtor is a

 proper proponent of the Plan under Section 1121(a) of the Bankruptcy Code. The

 Debtor has complied with the applicable provisions of the Bankruptcy Code, including

 as provided or permitted by orders of the Bankruptcy Court, the Bankruptcy Rules, and

 the Disclosure Statement Order in transmitting the Plan, the Ballots and in soliciting and

 tabulating votes on the Plan.

              Q.     Plan Proposed In Good Faith (11 U.S.C. § 1129(a)(3)). Following

 good faith negotiations among The Debtor and other parties in interest, The Debtor

 proposed the Plan in good faith and not by any means forbidden by law, thereby

 satisfying Section 1129(a)(3) of the Bankruptcy Code. In determining that the Plan has

 been proposed in good faith, the Bankruptcy Court has examined the totality of the

 circumstances surrounding the filing of the Chapter 11 Case, the pleadings filed in the

 Chapter 11 Case and its related proceedings, statements and arguments made at

 hearings before this Court, and the formulation and provisions of the Plan. The Court

 finds that the Plan was proposed with the legitimate and honest purpose of maximizing

 the value of the recovery to the holders of Allowed Claims under the circumstances of

 the Chapter 11 Case.

              R.     Payments for Services or Costs and Expenses (11 U.S.C. §

 1129(a)(4)). Any payment made or to be made by The Debtor for services or for costs

 and expenses in connection with the Chapter 11 Case, including all administrative

 expenses under Sections 503 and 507 of the Bankruptcy Code, or in connection with

 the Plan and incident to the Chapter 11 Case is subject to the approval of, the Court as

 reasonable, thereby satisfying Section 1129(a)(4) of the Bankruptcy Code.



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               S.     Directors, Officers and Insiders (11 U.S.C. § 1129(a)(5)). The

 Debtor has complied with and met the requirements of Section 1129(a)(5) of the

 Bankruptcy Code

               T.     No Rate Changes (11 U.S.C. § 1129(a)(6)). Section 1129(a)(6) of

 the Bankruptcy Code is not applicable because the Plan does not provide for any

 change in rates over which a governmental regulatory commission has jurisdiction.

               U.     Best Interests Test (11 U.S.C. § 1129(a)(7)). The Plan satisfies

 Section 1129(a)(7) of the Bankruptcy Code. The liquidation analysis in the Disclosure

 Statement Order (1) is persuasive, credible and accurate as of the dates such evidence

 was prepared, presented, or proffered, (2) has not been controverted, (3) is based upon

 reasonable and sound assumptions of the effect on distributions from the Debtor upon

 conversion to a case under chapter 7 of the Bankruptcy Code, and (4) reasonably

 establishes that each holder of a Claim or Equity Interest in an impaired Class that has

 not accepted the Plan will receive or retain under the Plan, on account of such Claim or

 Equity Interest, property of a value, as of the Effective Date of the Plan, that is not less

 than the amount that it would receive if the Debtor was liquidated under Chapter 7 of the

 Bankruptcy Code on such date.

               V.     Acceptance by Impaired Classes (11 U.S.C. § 1129(a)(8)). Not all

 impaired classes have accepted the Plan. The Court finds that Classes 2A, 2B and 2F,

 all impaired classes, voted to accept the Plan. Classes 1 and 4 did not cast a Ballot on

 the Plan.

               W.     Treatment of Administrative Expense Claims and Priority Tax

 Claims and Other Priority Claims (11 U.S.C. § 1129(a)(9)). The treatment of



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 administrative expense Claims and priority Claims under the Plan satisfies the

 requirements of Section 1129(a)(9)(A) and (B) of the Bankruptcy Code, and the

 treatment of priority tax Claims under the Plan satisfies the requirements of Section

 1129(a)(9)(C) of the Bankruptcy Code.

              X.     Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)). Impaired

 Classes 2A, 2B and 2F accepted the Plan. Thus, Section 1129(a)(10) of the

 Bankruptcy Code is satisfied.

              Y.     Feasibility (11 U.S.C. § 1129(a)(11)). Titan Management Group,

 LLC (“Titan”) manages over 700 properties, of which at least 400 are apartment rentals.

 Titan has managed the Debtor’s 17 rental properties since the inception of the case.

 Jonathan Jura, the owner of Titan, testified that the occupancy rate of the Debtor’s

 rental properties was 30% when Titan first took over management duties and that it

 currently exceeds 90%. Titan is paid a fee of 10% of gross rents received and

 segregates an additional 15% of gross revenues to use for property maintenance. Titan

 has caught up most of the deferred maintenance that the properties needed when Titan

 first was appointed property manager. Titan combined insurance coverage for all 17

 properties, and all 17 properties are covered under the same policy, paid with one

 $1150 premium which saves The Debtor money. The Debtor’s projections included

 $860 in monthly rental income for the 2101 East 430 South (“2101”) property, but 2101

 was vacant as of the date of the Confirmation Hearing. Jura testified that Titan was

 making repairs to 2101 and that they would be completed in the next couple of months

 at an estimated cost of $2000. Based on this information, the Court finds that it is

 reasonable to assume that 2101 will rent out for at least $860 a month sometime within



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 the next three months. The Debtor’s projections also showed no monthly income for the

 30 East Court property (“East Court’), but East Court was not vacant and was renting at

 $900 a month. The Debtor projected monthly income of $13,585, and total operating

 monthly operating expenses (management fees, maintenance reserve, and property

 taxes) of $4801, leaving $8784 in net income. After backing out an additional 10%

 vacancy reserve, the projected cash available for distribution each month was $7425.

 Projected monthly debt service is $7333.58, leaving the Debtor a projected thin cushion

 of little more than $91 a month, but that figure already takes into account a 10%

 vacancy reserve and a 15% maintenance reserve. The projected monthly income failed

 to take into account the rent for East Court, the current vacancy at 2101, and the

 eventual rental of 2101 at the rate of at least $860 within the next few months. The

 Debtor was behind in filing its monthly operating reports as of the date of the

 Confirmation Hearing and was ordered to file, and has filed, all outstanding monthly

 operating reports through July, 2016. According to those reports, the Debtor has

 exceeded its projected monthly income of $13,585 for each month since March 2016.

 On the Effective Date, the Debtor will have sufficient cash to satisfy its requirements

 under the Plan and continue in operation. The feasibility test under §1129(a)(11)

 requires the court to determine whether the plan offers the debtor a reasonable

 probability or assurance of success, but does not require a guarantee or certainty of

 success. In re Cavu/Rock Properties Project I, LLC, 530 B.R. 349, 356 (W.D. Tex.

 2015); In re Envirodyne Industries, Inc., 1993 WL 566565 at *35 (Bankr. N. D. Ill.

 December 20, 1993). The Court concludes that, based on the projections and the more




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 recent operating reports, the plan offers the debtor a reasonable probability of success

 and therefore satisfies §1129(a)(11) of the Bankruptcy Code.

                Z.     Payment of Fees (11 U.S.C. § 1129(a)(12)). The Debtor has paid

 or will pay by the Effective Date fees payable under 28 U.S.C. § 1930, thereby

 satisfying Section 1129(a)(12) of the Bankruptcy Code.

                AA.    Retiree Benefits (11 U.S.C. § 1129(a)(13)). Section 1129(a)(13) of

 the Bankruptcy Code requires that, following the Effective Date of the Plan, the payment

 of all retiree benefits (as defined in Section 1114 of the Bankruptcy Code), if any, will

 continue at the levels established pursuant to subsections (e)(1)(B) or (g) of Section

 1114 of the Bankruptcy Code, at any time prior to the entry of this Confirmation Order,

 for the duration of the period the debtor has obligated itself to provide such benefits.

 The Debtor has never funded nor maintained retiree benefits plans, funds, or programs

 as defined in Section 1114 of the Bankruptcy Code, and therefore, Section 1129(a)(13)

 is either not applicable or is satisfied.

                BB.    Section 1129(b) Confirmation of the Plan Over Nonacceptance Of

 Impaired Classes. All of the requirements of Section 1129(a) of the Bankruptcy Code,

 other than Section 1129(a)(8) (all classes accept), have been met. Brenda and Greg

 Hatfield currently own all the membership interests in the Debtor and are the holders of

 all Class 4 interests. The Class 4 Equity Interests are impaired, are being cancelled

 under the Plan, and thus, Class 4 is deemed to have rejected the Plan pursuant to 11

 U.S.C. § 1126(g). Notwithstanding the fact that not all impaired Classes have voted to

 accept the Plan, it nonetheless may be confirmed under the “cramdown” provisions of

 §1129(b) as long as the Plan does not discriminate unfairly and is fair and equitable with



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 respect to each class of claims or interests that is impaired under, and has not

 accepted, the Plan. Among the “fair and equitable” requirements is that a dissenting

 class of unsecured creditors must be paid in full before any junior class (here, Class 4,

 Equity Interests) can receive or retain any property on account of its Equity Interests.

 See §1129(b)(2)(B)(ii). This requirement is commonly referred to as the “absolute

 priority rule”. The “new value” exception to the absolute priority rule allows equity to

 retain its interests if the equity interest holder contributes value that is on account of a

 new (post bankruptcy) cash infusion. The absolute priority rule can be circumvented

 altogether where someone other than current equity holders get the equity in the

 reorganized debtor by contributing value to the reorganized debtor. However, the

 absolute priority rule cannot be avoided if the “someone” is an insider of the debtor. In

 re Castleton Plaza, LP, 707 F.3d 821, 823 (7th Cir. 2013). The Plan proposes to cancel

 the Hatfields’ Class 4 equity interests and reissue the reorganized Debtor’s equity

 interest in Jessica Ganser (“Jessica”), the Hatfields’ daughter, who is an insider under

 §101(31)(B)(vi). Thus, the absolute priority rule applies and the Debtor must show that

 the $2500 is sufficient “new value” in order to meet the requirements of

 §1129(b)(2)(B)(ii). The best way to show whether the proposed new value is adequate

 is to subject it to the competitive bidding process where a creditor or an investor might

 pay more for the equity interest. Bank of America National Trust & Savings Ass’n v.

 203 North LaSalle Street Partnership, 526 U.S. 434, 119 S.Ct. 1411, 143 L.Ed.2d 607

 (1999). Here, Ditech argues that Jessica’s $2500 new value contribution is inadequate.

 The Debtor’s 17 properties have no equity. Titan was given the opportunity to purchase

 the equity interest in the reorganized Debtor and declined. Neither Ditech nor any other



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 party offered evidence that the equity interest in the reorganized Debtor is worth more

 than $2500 or that there was another party willing to pay more for it. The Debtor’s

 exclusivity period expired in late February or early March, 2016, giving creditors the

 right to file competing plans. None did. The $2500 new value contribution is sufficient,

 and the Plan does not violate §1129(b)(2)(B)(ii). The interest rates proposed to be paid

 to the secured creditors of either 5.0% or 5.5% are fair and reasonable. The Court

 further finds that the Plan is fair and equitable and does not discriminate unfairly, all as

 required by Section 1129(b) of the Bankruptcy Code, and the Plan is confirmable under

 Section 1129(b).

               CC.    Principal Purpose of Plan (11 U.S.C. § 1129(d)). The principal

 purpose of the Plan is not the avoidance of taxes or the avoidance of the application of

 Section 5 of the Securities Act of 1933 (15 U.S.C. § 77e), and no governmental unit that

 is a party in interest in the Chapter 11 Case has asserted any such claim.

               DD.    Injunction. The injunction provided for under Sections 524 and

 1141 of the Bankruptcy Code constitutes a necessary means of implementing the Plan.

 The injunction (1) is within the jurisdiction of the Bankruptcy Court under 28 U.S.C. §§

 1334(a), (b), and (d); (2) is an essential means of implementing the Plan pursuant to

 Section 1123(a)(5) of the Bankruptcy Code; (3) is an integral element of the

 transactions incorporated into the Plan; (4) confers material benefit on, and is in the

 best interest of, the Debtor’s Estate and its creditors; (5) is important to the overall

 objectives of the Plan to finally resolve all Claims among or against the parties-in-

 interest in the Chapter 11 Case with respect to the Debtor; and (6) is consistent with

 Sections 105, 1123, 1129 and other applicable provisions of the Bankruptcy Code.



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               EE.     Exculpation. The exculpation provision, to the extent provided for

 in the Bankruptcy Code, constitutes a necessary means of implementing the Plan. The

 exculpation provision is reasonable and is within the jurisdiction of the Bankruptcy Court

 to grant and is in the best interests of the Debtor’s Estate.

               FF.     Conditions to Consummation. Each of the conditions to the

 Effective Date, as set forth in the Plan, is reasonably likely to be satisfied.

               GG.     Retention of Jurisdiction. The Bankruptcy Court properly may

 retain jurisdiction over matters concerning claims, the Plan and those additional matters

 that are more fully set forth in Article X of the Plan.

               HH.     Preservation of Causes of Action. It is in the best interests of the

 holders of Claims and Equity Interests that all Causes of Action that are not expressly

 released under the Plan be retained by the Debtor pursuant to the Plan in order to

 maximize the value of the Debtor’s Estate.

               ACCORDINGLY, IT IS ORDERED:

               1.      Confirmation. The Plan is APPROVED and CONFIRMED under

 Section 1129 of the Bankruptcy Code. The terms of the Plan and the Exhibits to the

 Plan are incorporated by reference into and are an integral part of the Plan and this

 Confirmation Order.

               2.      Provisions Of Plan And Order Nonseverable And Mutually

 Dependent. The provisions of the Plan and this Confirmation Order, including the

 findings of fact and conclusions of law set forth herein, are nonseverable and mutually

 dependent.




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               3.     Plan Classification Controlling. The classification of Claims and

 Equity Interests for purposes of the distributions to be made under the Plan shall be

 governed solely by the terms of the Plan. The classifications set forth on the Ballots

 tendered to or returned by the holders of Claims against, or Equity Interests in, the

 Debtor in connection with voting on the Plan (a) were set forth on the Ballots solely for

 purposes of voting to accept or reject the Plan, (b) do not necessarily represent, and in

 no event shall be deemed to modify or otherwise affect, the actual classification of such

 Claims or Equity Interests under the Plan for distribution purposes, (c) may not be relied

 upon by any holder of a Claim or Equity Interest as representing the actual classification

 of such Claims or Equity Interests under the Plan for distribution purposes, and (d) shall

 not be binding on the Debtor or its Estate.

               4.     Treatment of Claims Classes. The treatments of the classified

 Claims and Equity Interests (Classes 1 through 4) as set forth in Article V of the Plan, as

 modified by the Immaterial Modifications, is approved and distributions made in

 accordance with those treatments shall be in full and final satisfaction of any and all of

 the Allowed Claims and Allowed Equity Interests in Classes 1 through 4.

               5.     Exculpation. The exculpation provisions, to the extent provided for

 in the Bankruptcy Code, are deemed incorporated in this Confirmation Order as if set

 forth in full herein and are hereby approved in their entirety.

               6.     Injunction. The injunction provided for under Sections 524 and

 1141 of the Bankruptcy Code is incorporated in this Confirmation Order in its entirety as

 if fully set forth herein, and except as otherwise specifically provided in the Plan or




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 ordered by this Court, from and after the Confirmation Date and subject to the Effective

 Date, all Persons are bound by this injunction.

               7.     Matters Relating to Implementation of the Plan: General

 Authorizations. The approvals and authorizations specifically set forth in this

 Confirmation Order are nonexclusive and are not intended to limit the authority of the

 Debtor or any officer of the Debtor to take any and all actions necessary or appropriate

 to implement, effectuate and consummate any and all documents or transactions

 contemplated by the Plan or this Confirmation Order. In addition to the authority to

 execute and deliver, adopt, assign, or amend, as the case may be, the contracts,

 leases, instruments, releases and other agreements specifically granted in this

 Confirmation Order, the Debtor is authorized and empowered, to take any and all such

 actions as it may determine are necessary or appropriate to implement, effectuate and

 consummate any and all documents or transactions contemplated by the Plan or this

 Confirmation Order, including: (a) enter into, execute and deliver, adopt or amend, as

 the case may be, any of the contracts, leases, instruments, releases and other

 agreements or documents and plans to be entered into, executed and delivered,

 adopted or amended in connection with the Plan, and, following the Effective Date, each

 of such contracts, leases, instruments, releases and other agreements shall be a legal,

 valid and binding obligation of the Debtor and enforceable against the Debtor in

 accordance with its terms; or (b) authorize the Debtor to engage in any of the activities

 set forth in this paragraph or otherwise contemplated by the Plan.

               8.     Officers. The existing officers of the Debtor are terminated as of

 the date this order becomes a final order.



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               9.     Preservation of Causes of Action. The Debtor shall retain and may

 (but is not required to) enforce all Causes of Action or claims arising under applicable

 state laws, if any, and including Causes of Action of a trustee or debtor-in-possession

 under the Bankruptcy Code except those expressly released under the Plan. The

 Debtor will determine whether to bring, settle, release, compromise, or enforce any such

 rights (or decline to do any of the foregoing). The failure of the Debtor to specifically list

 any Cause of Action, or otherwise, does not and will not be deemed to constitute a

 waiver or release by the Debtor of such Cause of Action, and the Debtor will retain the

 right to pursue such Causes of Action in its discretion and, therefore, no preclusion

 doctrine, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,

 equitable or otherwise) or laches will apply to such Cause of Action upon or after the

 confirmation or consummation of the Plan; provided, however, that notwithstanding the

 payment on account of an Allowed Claim, the Debtor shall retain the right to assert

 and/or pursue any Causes of Action against the parties subject thereto any and all

 rights ancillary thereto, including the right to collect judgments thereon.

               10.    Exemption from Certain Taxes and Recording Fees. Pursuant to

 Section 1146(a) of the Bankruptcy Code, the issuance, transfer or exchange of any

 security, or the making, delivery, filing or recording of any instrument of transfer under,

 or in connection with, the Plan shall not be taxed under any law imposing a recording

 tax, stamp tax, transfer tax or similar tax. Furthermore, and without limiting the

 foregoing, any transfers from the Debtor to any other Person pursuant to the Plan, as

 contemplated by the Plan, or pursuant to any agreement regarding the transfer of title to

 or ownership of the Debtor’s property in the United States will not be subject to any



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 document recording tax, stamp tax, conveyance fee, intangibles or similar tax, sales or

 use tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax,

 Uniform Commercial Code filing or recording fee, or other similar tax or governmental

 assessment. All filing or recording officers (or any other Person with authority over any

 of the foregoing), wherever located and by whomever appointed, shall comply with the

 requirements of Section 1146(a) of the Bankruptcy Code, shall forgo the collection of

 any such tax or governmental assessment, and shall accept for filing and recordation

 any of the foregoing instruments or other documents without the payment of any such

 tax or governmental assessment. The Bankruptcy Court shall retain specific jurisdiction

 with respect to these matters.

               11.    Professional Claims and Final Fee Applications. The provisions of

 the Plan shall govern fee claims of professionals, including final fee applications,

 payment of interim amounts, and deadlines and procedures relating thereto, as well as

 post-Effective Date compensation and retention.

               12.    Resolution of Claims and Equity Interests. Except as otherwise

 ordered by the Bankruptcy Court, any Claim or Equity Interest that is not an Allowed

 Claim or Allowed Equity Interest shall be determined, resolved, or adjudicated in

 accordance with the terms of the Plan. The Debtor may until thirty (30) days after the

 entry of this Order (unless extended pursuant to the Plan or by order of the Bankruptcy

 Court) file objections in the Bankruptcy Court to the allowance of any Claim or Equity

 Interest (whether or not a proof of Claim or Equity Interest has been filed).

               13.    Payment of Fees. All fees payable by the Debtor under 28 U.S.C.

 § 1930 shall be paid on or before the Effective Date, and The Debtor shall thereafter



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 pay any statutory fees that come due until the Chapter 11 Case is closed, converted or

 dismissed.

               14.    Authorization to Consummate Plan. The Bankruptcy Court

 authorizes the Debtor to consummate the Plan after entry of this Confirmation Order.

 The Debtor is authorized to execute, acknowledge, and deliver such deeds,

 assignments, conveyances, and other assurances, documents, instruments of transfer,

 uniform commercial code financing statements, trust agreements, mortgages,

 indentures, security agreements, and bills of sale and to take such other actions as may

 be reasonably necessary to perform the terms and provisions of the Plan, all

 transactions contemplated by the Plan, and all other agreements related thereto.

               15.    Failure to Consummate Plan and Substantial Consummation. If

 consummation of the Plan does not occur, then the Plan, any settlement or compromise

 embodied in the Plan (including the fixing or limiting to an amount certain any Claim or

 Equity Interest or Class of Claims or Equity Interests), the rejection of executory

 contracts or leases effected by the Plan, and any document or agreement executed

 pursuant to the Plan, shall be null and void. In such event, nothing contained in the

 Plan or this Confirmation Order, and no acts taken in preparation for consummation of

 the Plan, shall (a) constitute a waiver or release of any claims by or against (including

 any Claims) or Equity Interests in the Debtor or any other Person, (b) prejudice in any

 manner the rights of the Debtor or any Person in any further proceedings involving the

 Debtor, (c) constitute an admission of any sort by the Debtor or any other Person, or (d)

 be construed as a finding of fact or conclusion of law with respect thereto.




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                16.    Retention of Jurisdiction. Pursuant to Sections 105(a) and 1142 of

 the Bankruptcy Code, and notwithstanding the entry of this Confirmation Order or the

 occurrence of the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction

 as provided in Article X the Plan over all matters arising out of, and related to, the

 Chapter 11 Case and the Plan to the fullest extent permitted by law, including, among

 other items and matters, jurisdiction over those items and matters set forth in the Plan.

                17.    References to Plan Provisions. The failure to include or specifically

 reference any particular provision of the Plan in this Confirmation Order shall not

 diminish or impair the effectiveness of such provision, it being the intent of the

 Bankruptcy Court that the Plan be confirmed in its entirety. The provisions of the Plan

 and of this Confirmation Order shall be construed in a manner consistent with each

 other so as to effect the purposes of each; however, that if there is determined to be any

 inconsistency between any Plan provision and any provision of this Confirmation Order

 that cannot be so reconciled, then, solely to the extent of such inconsistency, the

 provisions of this Confirmation Order shall govern and any such provision of this

 Confirmation Order shall be deemed a modification of the Plan and shall control and

 take precedence.

                18.    Filing and Recording. This Confirmation Order (a) is and shall be

 effective as a determination that, on the Effective Date, all Claims and Equity Interests

 existing prior to such date shall be limited to the treatments set forth in the Plan,

 whether or not the holders of such Claims and Equity Interests has accepted the Plan,

 and (b) is and shall be binding upon and shall govern the acts of all entities including,

 without limitation, all filing agents, filing officers, title agents, title companies, recorders



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 of mortgages, recorders of deeds, registrars of deeds, administrative agencies,

 governmental departments, secretaries of state, federal, state and local officials, and all

 other persons and entities who may be required, by operation of law, the duties of their

 office, or contract, to accept, file, register or otherwise record or release any document

 or instruments. Each and every federal, state and local government agency is hereby

 directed to accept any and all documents and instruments necessary, useful or

 appropriate (including Uniform Commercial Code financing statements) to effectuate,

 implement and consummate the transactions contemplated by the Plan and this

 Confirmation Order without payment of any recording tax, stamp tax, transfer tax or

 similar tax imposed by state or local law.

               19.    Notice of Confirmation Order and Occurrence of Effective Date. On

 or before the fifth (5th) Business Day following the occurrence of the Effective Date, The

 Debtor shall serve notice of this Confirmation Order and of the Effective Date pursuant

 to Bankruptcy Rules 2002(f)(7), 2002(k), and 3020(c), on all creditors and equity

 security holders, the United States Trustee, and other parties-in interest, by causing a

 notice of this Confirmation Order and of the Effective Date (the “Notice of Effective

 Date”), to be delivered to such parties by electronic mail or first class mail, postage

 prepaid, provided, however, that notice need not be given or served under the

 Bankruptcy Code, the Bankruptcy Rules, or this Confirmation Order to any Person to

 whom the Debtor mailed the Solicitation Packet, but received such notice returned

 marked “undeliverable as addressed,” “moved-left no forwarding address,” “forwarding

 order expired,” or similar reason, unless the Debtor has been informed in writing by

 such Person of that Person’s new address. The notice described herein is adequate



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 under the particular circumstances of the Chapter 11 Case, and no other or further

 notice is necessary.

               20.      If in this Order, any finding of fact is more properly a conclusion of

 law or if any conclusion of law is more properly a finding of fact, the Bankruptcy Court

 so finds and concludes.

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